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11   Attorneys for Plaintiff

12                                 UNITED STATES DISTRICT COURT
13                                       DISTRICT OF NEVADA
14
       HEATHER SLOANE,
15                                                     Case No. 3:19-cv-00648-MMD-WGC
                      Plaintiff,
16
               vs.                                          STIPULATION AND ORDER TO
17
                                                               CONTINUE HEARING ON
18                                                            PLAINTIFF’S MOTIONS TO
       STATE FARM MUTUAL AUTOMOBILE                            COMPEL (Second Request)
19     INSURANCE COMPANY, an insurance
       company; and DOES 1-25 and XYZ
20     Corporations, inclusive,
21
                      Defendants.
22

23          The parties hereto, by and through their undersigned counsel, hereby stipulate and agree to

24   continue the hearing currently scheduled for September 29, 2021 on Plaintiff’s Motions to Compel

25   (ECF Nos. 49 & 58) and on Defendant’s Motion for Order to Show Cause (ECF 67). The parties

26   are currently in discussions to resolve the case and are seeking the continuance to avoid incurring

27   unnecessary fees and costs. Accordingly, counsel request that the Court reset the hearing to a date

28   sometime after October 15, 2021, to give the parties sufficient time to resolve the case.


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 Case 3:19-cv-00648-MMD-WGC Document 78 Filed 09/22/21 Page 2 of 2




 1                      QG day of September, 2021.
            DATED this _____

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     ROSE LAW OFFICE                                       MCCORMICK, BARSTOW, SHEPPARD,
 3                                                         WAYTE & CARRTH LLP
 4     V6HDQ5RVH                                        V0LFKDHO3LQWDU
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13   Attorneys for Plaintiffs

14                                                ORDER
            The Courtroom Administrator shall reset a date for a possible hearing.
15          IT IS SO ORDERED.
16
            DATED this 22nd day of September, 2021.
17

18                                                         UNITED STATES MAGISTRATE JUDGE

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